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8                       UNITED STATES DISTRICT COURT
9                     CENTRAL DISTRICT OF CALIFORNIA
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     RALPH KUHEN, CPA d/b/a/ R.             Case No.: 8:21-cv-00773-JLS-ADS
12   KUHEN & CO INC., on behalf of itself
     and all others similarly situated,
13
                                            JUDGMENT
14              Plaintiff,
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          v.
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     SENTINEL INSURANCE COMPANY,
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     LTD,
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                Defendant.
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Case 8:21-cv-00773-JLS-ADS Document 64 Filed 11/18/21 Page 2 of 2 Page ID #:348




1          On November 10, 2021, the Court, The Honorable Josephine L. Staton
2    presiding, entered an Order Granting Defendant Sentinel Insurance Company,
3    Limited’s Motion to Dismiss the First Amended Complaint filed by Plaintiff Ralph
4    Kuhen, CPA d/b/a/ R. Kuhen & Co. Inc. (“Plaintiff”) (hereinafter “Order of
5    Dismissal”). (Doc. 62.) The Order of Dismissal having issued, IT IS HEREBY

6    ORDERED, ADJUDGED, AND DECREED THAT Plaintiff take nothing and that
     the action be dismissed in its entirety on the merits and with prejudice.
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9    DATED: November 18, 2021               ___________________________
10                                          HON. JOSEPHINE L. STATON
                                            UNITED STATES DISTRICT JUDGE
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